                                                     U.S. Department of Justice

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                                                     April 23, 2025

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:    United States v. Combs, S3 24 Cr. 542 (AS)

Dear Judge Subramanian:

        The Government respectfully submits this letter for the Court’s consideration following the
April 18, 2025 conference (the “Conference”) regarding the expert testimony of Dr. Dawn Hughes,
which the Government is seeking to introduce under Rule 702. At the Conference, the Court
addressed, among other things, the scope of Dr. Hughes’ testimony regarding coercive control,
coping strategies, and the memory of victims of sexual abuse. For the reasons stated below, and
in the Government’s opposition to the defendant’s motion in limine, the Court should admit Dr.
Hughes’ testimony in the limited areas discussed below.

  I.    Background

       As detailed in the Government’s Enterprise letters and in its opposition to the defense
motion to exclude testimony under Rule 413, see Dkt. No. 258, the Government anticipates



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27:6-21; see Ex. A at 3-4).




        In addition, the Government respectfully requests that Dr. Hughes be permitted to provide
additional limited testimony regarding interpersonal violence to provide context to her testimony
regarding the reasons victims remain in relationships and delay disclosure. Such contextual
testimony would be limited to the following: (1) the forms of abuse common in domestic
relationships that involve interpersonal violence, such as physical violence, sexual abuse,
emotional abuse, psychological aggression, and stalking and surveillance behaviors; and (2) that
those forms of abuse may function together to cause a victim to remain loyal and committed to the
perpetrator; remain in an abusive relationship for a variety of reasons, including emotional
manipulation or fear of violence; and comply with demands from the perpetrator, including the
victim participating in sex acts. (Id. at 3).

        This testimony is highly relevant and necessary to provide a proper psychological
framework for Dr. Hughes’ testimony regarding why a victim may remain in an abusive
relationship as well as engage in delayed disclosure. As reflected in Dr. Hughes’ expert notice,
interpersonal violence is an umbrella term that describes the dynamics associated with abuse,
exploitation, victimization, and control of a victim by a perpetrator. Interpersonal violence may
include physical abuse, rape, sexual assault, and intimate partner violence, as well as threats,
intimidation, and isolation. (Ex. A at 1). Relationships involving interpersonal violence often
also involve periods of normalcy and affection. Without this key testimony regarding the
dynamics of interpersonal violence, a juror would be unable to understand the relevance of Dr.
Hughes’ testimony regarding why a victim may remain in an abusive relationship, as well as
engage in delayed disclosure. Indeed, Dr. Hughes would testify that it is the dynamics of
interpersonal violence that result in such behavior.

        Importantly, the dynamics of interpersonal violence—and the resulting counterintuitive
victim behaviors—fall far outside the ken of the average juror. Members of the jury are unlikely
to be familiar with the tools of manipulation, control, abuse, and violence that scientific research
has identified as typical in relationships involving interpersonal violence, or with the common
responses that victims have in these relationships. Conversely, jurors may have opinions about
how victims of interpersonal violence would—or should—respond, and these opinions could be
based on any number of unscientific inputs, including the juror’s personal experience or anecdotes
the juror has learned from others. In light of this, jurors should also have the benefit of hearing
what an expert in the field has learned about these complex psychological dynamics. Accordingly,
Dr. Hughes should be permitted to provide limited testimony regarding the physical,
psychological, and emotional tactics of interpersonal violence in order to provide necessary
context to her testimony regarding the impact of those tactics, namely, that victims may express
positive emotions towards a perpetrator, may remain in an abusive relationship, and may delay
disclosure of abuse. (See Ex. A at 3).




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        As to the Court’s expressed concern about improper testimony regarding intent, see Tr.
27:16-20, Dr. Hughes will not testify to “the subjective motivations, thought processes, and mental
states of abusers in general.” See United States v. Ray, 20 Cr. 110 (LJL), 2022 WL 101911, at *11
(S.D.N.Y. Jan. 11, 2022). Indeed, under Rule 704, “an expert witness must not state an opinion
about whether the defendant did or did not have a mental state or condition that constitutes an
element of the crime charged or of a defense. Those matters are for the trier of fact alone.” Fed.
R. Evid. 704. Rather, Dr. Hughes would testify to “a common set of conduct experienced by those
who are victims of interpersonal violence and the effect that that conduct commonly has on those
who are victims of it.” Ray, 2022 WL 101911, at *11. Indeed, the Supreme Court has recently
found that testimony regarding the mental state or characteristics of a category of offenders is
proper. See Diaz v. United States, 602 U.S. 526, 534-36 (2024) (finding that testimony by the
Government’s expert that, in most circumstances, a drug courier knows they were hired to take
drugs from point A to point B did not violate Rule 704 noting that expert opinion “about the
knowledge of most drug couriers . . . does not necessarily describe Diaz’s mental state. After all,
Diaz may or may not be like most drug couriers . . . The jury was thus well aware that unknowing
couriers exist and that there was evidence to suggest Diaz could be one of them. It simply
concluded that the evidence as a whole pointed to a different conclusion: that Diaz knowingly
transported the drugs.”). As in Diaz, Dr. Hughes will testify only to types of conduct that persist
in relationships involving interpersonal violence; she will avoid any opinion regarding the
subjective intent of the defendant, or the intent motivating the types of controlling tactics that
commonly appear within interpersonal violence. Rather, Dr. Hughes will simply testify about
what those tactics are and how they impact victims, without commenting on the mindset of abusers.

        Neither will Dr. Hughes testify regarding the credibility of any particular witness, which
would be altogether improper. Cf. Washington v. Schriver, 255 F.3d 45, 59 (2d Cir. 2001) (“There
is no question that under New York law, a witness can testify about factors affecting the reliability
of another witness, as long as he or she avoids commenting directly on the credibility of the
witness.”) (citing cases); Byrd v. Brown, No. 09 Civ. 5755 (GBD-JCF), 2010 WL 6764702, at *11
(S.D.N.Y. Oct. 25, 2010), report and recommendation adopted, No. 09 Civ. 5755 (GBD-JCF),
2011 WL 2162140 (S.D.N.Y. June 1, 2011) (finding expert testimony on battered woman
syndrome is “properly admitted to explain the victim’s behavior after an assault where the expert
did not testify, or suggest, that the victim should be believed or that defendant was guilty.”)
(internal quotation marks and alterations omitted). As such, Dr. Hughes’ proffered testimony will
not opine on the particular intent of the defendant, or the credibility of specific witnesses, and will
instead serve the proper function of explaining the dynamics and consequences of victims of
interpersonal violence and sexual abuse.

           B. Dr. Hughes’ Testimony Regarding Coping Strategies

       At the Conference, the Court also addressed the scope of Dr. Hughes’ testimony regarding
coping mechanisms used by victims. (Tr. 31:13-17). The Government respectfully requests that
Dr. Hughes be permitted to provide limited testimony on this topic.




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Hughes’ testimony, however, demonstrates how research and science support that these actions
may be a response to interpersonal violence. Dr. Hughes’s proposed testimony discusses how
victims employ various coping strategies, including placating their abuser by participating in
unwanted activities and consuming substances, in order to minimize the pain and well-researched
psychological consequences that result from abusive experiences. (Ex. A at 3).

        In addition, such expert testimony will also be particularly helpful to the jury. While the
jury may be aware generally that individuals may seek to placate an abuser, or consume substances
to numb challenging life experiences, they are likely to be unaware of the role these particular
coping strategies play in long-term, sexual relationships where the perpetrator of the abuse is also
a romantic partner. As such, Dr. Hughes’ testimony regarding the use of coping mechanisms in
relationships involving interpersonal violence is outside the ken of the average juror and will assist
the jury in understanding the testimony of these victims.

           C. Dr. Hughes’ Testimony Regarding Memories of Sexual Abuse

         At the Conference, the Court addressed the scope of Dr. Hughes’ potential testimony
regarding the memory of victims of sexual abuse. (Tr. 32:14-35:20). The Court expressed
particular concern that such testimony could be viewed as improperly bolstering the credibility of
witnesses. (Tr. 32:19-24). For the reasons stated below, Dr. Hughes’ limited testimony on the
subject of memory is highly relevant                                           and will be helpful
to the jury in understanding the mechanics of memory for victims of sexual abuse, which is outside
the ken of the average juror.

       Dr. Hughes’ testimony regarding the memory of sexual abuse victims is highly relevant.




        Dr. Hughes’ testimony regarding the memory of victims of abuse is therefore highly
relevant and will assist the jury in assessing the credibility of                      As an initial
matter, such testimony is far outside the ken of the average juror. Indeed, the average juror may
presume that victims should recall all incidents of trauma, and believe that the fragmented nature
of the memories of victims are due to their lack of credibility, rather than as a result of trauma.
Further, the average juror may lack awareness that interpersonal violence may result in psychiatric
disorders, including PTSD, of which an inability to remember an important aspect of a traumatic
event is a criteria of the diagnosis. 1 For that reason, the nature of traumatic memory may be

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counterintuitive for the average juror without the guidance of expert testimony. As such, Dr.
Hughes’ testimony will “help the trier of fact to understand the evidence or to determine a fact in
issue.” Fed. R. Evid. 702; see also Daubert v. Merrell Dow, 509 U.S. 579, 591-93 (1993). Nor
will such testimony amount to improper bolstering                               Dr. Hughes will not
opine on the credibility                         whatsoever. Rather, it will be left to the jury alone
to determine whether victim testimony “fit[s] the pattern” described by Dr. Hughes’ testimony.
Ray, 2022 WL 101911 at *13.

         Indeed, Dr. Hughes has recently provided similar expert testimony regarding the memory
of victims of sexual abuse in several other cases. See United States v. Copeland, 21 Cr. 521 (KMK)
(S.D.N.Y. July 12, 2023); Trial Tr. at 242-44 (discussing fragmented memory from traumatic
events involving sexual abuse; that such memory can get encoded in “flashbulbs”; and that with
“repeated incidents of sex abuse over time, it becomes difficult to isolate each specific incident.”)2;
United States v. Kelly, No. 19 Cr. 286 (AMD) (E.D.N.Y. Sept. 17, 2021), Dkt. No. 250, Trial Tr.
3946:8-21 (discussing that “memory for traumatic events can be different than memory for regular
events . . . what we saw were people remember the larger context for having been abused, having
been subjected to violence and maltreatment, but some of discrete details get blurred over time.”);
United States v. Raniere, 18 Cr. 204 (NGG) (E.D.N.Y. June 6, 2019), Dkt. No. 780, Trial Tr. at
3713-14 (discussing that “when we have chronic assault and repeated assault, sometimes the
details tend to blend together . . . And the way that sometimes trauma is remembered, especially if
someone is employing dissociation during the event, the way the memories get encoded sort of
like flashbulbs . . . And over the course of therapy and time, those pieces tend to then eventually
come in place. And sometimes they never come in place, but they know that these things have
happened to them.”). Such testimony has been found to serve its proper purpose of assisting jurors
in understanding the psychological impact of trauma on memory.

        Finally, if permitted to testify regarding memory, the Government will limit Dr. Hughes’
testimony to the following matters, unless the defense opens the door to additional topics regarding
memory through its argument or cross examination: (1) victims of interpersonal violence may
have incomplete or fragmented memories due to traumatic stress; (2) victims may lack the capacity
to recall each instance of abuse due to the frequency of abuse; and (3) victims may recall memories
of abuse at a later time when exposed to an internal or external cue or reminder.

                                             Conclusion

        For the foregoing reasons, as well as those outlined in its opposition to the defense’s motion
in limine, the Government respectfully requests that the Court admit limited expert testimony of
Dr. Hughes pursuant to Rule 702 with respect to interpersonal violence, coping strategies, delayed
disclosure, and memory.




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  Since this trial transcript from Copeland is not publicly docketed, the Government attaches the
relevant portion hereto as Exhibit B.

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                                         Respectfully submitted,

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                                         United States Attorney

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